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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

B.H., et al.,                                     )
                                                  )
                Plaintiffs,                       )
                                                  )
        v.                                        )       No. 88 C 5599
                                                  )
MARC D. SMITH, Acting Director,                   )       Hon. Jorge L. Alonso
Illinois Department of Children and               )
Family Services,                                  )
                                                  )
                Defendant.                        )

                                          STIPULATION

        1.      While youth are in the custody of the Illinois Department of Children and Family

Services (“DCFS”), there are occasions in which the youth must be transported from one

location to another.

        2.      It is the policy of DCFS that neither DCFS nor its contractors shall ever use

handcuffs and/or shackles for transporting any youth in DCFS care.

        3.      DCFS is currently developing and finalizing a protocol regarding the above-

referenced prohibition and the use of soft restraints (e.g., restraints made of cloth material

designed to safely fit around a person’s wrist, ankles, or chest) for transporting youth in DCFS

care (the “Transportation Protocol”).

        4.      The Transportation Protocol shall provide, among other things, that soft restraints

may be used for transporting youth in DCFS care in the following two limited circumstances

only: (i) if, based on a youth’s mental health needs, a psychiatrist orders the use of restraints for

transporting a youth in DCFS care; or (ii) if a court orders the use of restraints for transporting a

youth in DCFS care. Further, even in those two limited circumstances, the use of soft restraints
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shall not be permitted unless there is a written recommendation by the DCFS Chief Deputy

Director, Clinical & Child Services and a written approval by the DCFS Chief Deputy Director.

       5.      DCFS currently contracts with Jim Stewart Transportation LLC to provide secure

transportation for youth in DCFS care. DCFS Chief Deputy Director and DCFS Chief Deputy

Director, Clinical and Child Services have contacted Jim Stewart Transportation LLC directly to

communicate that the use of handcuffs and/or shackles is prohibited, and to inform the company

regarding the restricted use of soft restraints (consistent with the terms of the Transportation

Protocol referenced in Paragraphs 3-4 hereof).

       6.      By December 6, 2019, DCFS shall communicate the Transportation Protocol to

all transportation companies with which DCFS has direct contracts for transportation of youth,

and to all DCFS and POS agency management and staff.

       7.      Within two days of the filing of this Stipulation, DCFS shall transmit a copy of

this Stipulation to all transportation companies with which DCFS has direct contracts for

transportation of youth, and to all DCFS and POS agency management and staff.

       8.      This Stipulation shall remain in full force and effect until the Transportation

Protocol is communicated as set forth in Paragraph 6 hereof.

Dated: November 13, 2019                              Respectfully submitted:

                                                      KWAME RAOUL
                                                      Illinois Attorney General

                                                      By: /s/Barbara L. Greenspan
                                                      Barbara L. Greenspan
                                                      Assistant Attorney General
                                                      100 W. Randolph St., 11-200
                                                      Chicago, IL 60601
                                                      312-814-7087
                                                      Barbara.Greenspan@illinois.gov

                                                      Counsel for Defendant
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                                         AND

                                         By: /s/Heidi Dalenberg
                                         Heidi Dalenberg
                                         Allyson M. Bain
                                         Roger Baldwin Foundation of the ACLU,
                                         Inc.
                                         150 N. Michigan Ave., Suite 600
                                         Chicago, IL 60601
                                         312-201-9740
                                         hdalenberg@aclu-il.org

                                         and

                                         Allison M. Nichols
                                         Riley Safer Holmes & Cancila LLP
                                         Three First National Plaza
                                         70 W. Madison Street, Suite 2900
                                         Chicago, IL 60602
                                         Tel: 312-471-8700
                                         anichols@rshc-law.com

                                         and

                                         Michael Showalter
                                         Schiff Hardin LLP
                                         Willis Tower, Suite 7100
                                         233 S. Wacker Drive
                                         Chicago, IL 60601
                                         mshowalter@schiffhardin.com

                                         Counsel for Plaintiffs
